                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


ALLSTATE PROPERTY AND CASUALTY                       )
COMPANY,                                             )
                                                     )
       Counterclaim Plaintiff,                       )
                                                     )
v.                                                   )       No. 3:07-cv-104
                                                     )       (Phillips)
LARRY MARKOWSKI and                                  )
VALERIE MARKOWSKI,                                   )
                                                     )
       Counterclaim Defendants.                      )

                                             ORDER

       This matter is before the Court on counterclaim plaintiff Allstate Property and Casualty

Company’s (hereafter, “Allstate”) Motion to Dismiss the Counterclaim Without Prejudice [Doc. 37].

On March 22, 2007,this lawsuit was removed to federal court. [Doc. 1]. On May 9, 2007, Allstate

filed a counterclaim against Larry and Valerie Markowski. [Doc. 7]. On April 20, 2010, the Court

dismissed Larry and Valerie Markowski’s complaint against Allstate. [Doc. 36]. The only remaining

cause of action following this Order [Doc. 36] was Allstate’s counterclaim against Larry and Valerie

Markowski.

       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Allstate moves to dismiss

its counterclaim without prejudice against Larry and Valerie Markowski. [Id.]. For good cause

stated, Allstate’s Motion to Dismiss the Counterclaim Without Prejudice [Doc. 37] is GRANTED,

whereby it is ORDERED, DECREED, and ADJUDGED that Allstate’s counterclaim against Larry

and Valerie Markowski is DISMISSED WITHOUT PREJUDICE.




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        IT IS SO ORDERED.

                                      ENTER:

                                           s/ Thomas W. Phillips
                                         United States District Judge




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